                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
v.                                                  )       Case No. 3:10-00250
                                                    )       Judge Trauger
MATTHEW DEHART                                      )

                               MEMORANDUM AND ORDER

         Pending before the court is the Motion to Dismiss filed by defendant Matthew Dehart

(Docket No. 15), to which the United States has filed a response (Docket No. 24). For the

reasons discussed below, the defendant’s motion will be denied.

                                        BACKGROUND

         The defendant, Matthew Dehart, has been indicted on charges of producing and

transporting child pornography. Dehart was initially arrested on August 5, 2010 in or near

Bangor, Maine.1 The defendant was ordered removed from the District of Maine on August 11

and was transported to the Middle District of Tennessee, arriving in Nashville, Tennessee on

September 8, 2010.



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          There is some confusion over the exact date of arrest. One entry in this court’s docket
indicates that the defendant was arrested on August 9, 2010, and this is the date that the United
States mentions in its brief. But the docket in the District of Maine, where Dehart was arrested,
states that he was arrested on August 5, 2010. (Docket No. 3 at 8.) Furthermore, the criminal
complaint and an arrest warrant were signed by a Magistrate Judge in this district on August 6.
(Docket Nos. 1, 2.) This is consistent with Federal Rule of Criminal Procedure 5, which requires
that, before a defendant who has been arrested without a warrant may be transferred to the
district where the crime occurred, an arrest warrant must issue from the transferee district. Fed.
R. Crim. Pro. 5(c)(3)(B). For the purposes of this motion, the court will assume that the
defendant was arrested on August 5, 2010.

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         During the initial hearing in the Middle District of Tennessee, the defendant orally

moved to set the case for a detention hearing, and the Magistrate Judge instructed him to file a

written motion. The defendant filed a Motion to Revoke or Amend Detention Order on

September 14, 2010. The United States filed a response, and the Magistrate Judge denied the

motion by written order on September 24. The defendant was then indicted on October 6, 2010.2

                                            ANALYSIS

         The defendant has now filed a Motion to Dismiss pursuant to the Speedy Trial Act, 18

U.S.C. § 3161(b).

I.       Speedy Trial Act

         The Speedy Trial Act, 18 U.S.C. § 3161 et seq., provides that an indictment must be filed

within 30 days of arrest. Id. § 3161(b). If the government fails to indict the defendant within the

30-day time frame, the court must dismiss the indictment. Id. § 3162(a)(1). The statute

provides, however, that the court should automatically exclude certain time periods from that 30-

day calculation:

                (h) The following periods of delay shall be excluded in computing
                the time within which an information or an indictment must be
                filed . . . :

                  (1) Any period of delay resulting from other proceedings
                concerning the defendant, including but not limited to– . . .

                    (D) delay resulting from any pretrial motion, from the filing of
                the motion through the conclusion of the hearing on, or other
                prompt disposition of, such motion; . . .


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        The defendant states that he was indicted on October 7, but this is incorrect. (See
Docket No. 12.)

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                     (F) delay resulting from transportation of any defendant from
                 another district, or to and from places of examination or
                 hospitalization, except that any time consumed in excess of ten
                 days from the date an order of removal or an order directing such
                 transportation, and the defendant’s arrival at the destination shall
                 be presumed to be unreasonable . . . .

Id. § 3161(h).

II.    Application

       Sixty-two days elapsed between the defendant’s August 5 arrest and his October 6

indictment. The defendant argues that this violates the Speedy Trial Act and that his indictment

should be dismissed with prejudice. (Docket No. 15 at 1-2.) In response, the United States

argues that, taking into account the periods excluded by the statute, it filed the indictment within

the 30-day limit. (Docket No. 24 at 4-5.)

       The resolution of the instant motion turns on two issues: (1) whether the entire time spent

transporting the defendant is excludable, and (2) whether the time during which the defendant’s

Motion to Revoke was pending is excludable.

       A.        Transportation Time

       Between the August 11 Removal Order and the defendant’s September 8 arrival in

Nashville, 28 days elapsed. Section 3161(h) provides that “delay resulting from transportation

of any defendant from another district” is excludable from the 30-day calculation, “except that

any time consumed in excess of ten days from the date an order of removal . . . and the

defendant’s arrival at the destination shall be presumed to be unreasonable.” 18 U.S.C. §

3161(h)(1)(F).



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       Thus, transportation time over ten days is usually not excludable. The defendant argues

that, here, 18 of the transportation days should count against the Speedy Trial clock. (Docket

No. 15 at 2 n.2.) But the statute only provides “a presumption of unreasonableness, not a

conclusion of unreasonableness.” United States v. Turner, 602 F.3d 778, 785 (6th Cir. 2010).

“If legitimate problems arise in transporting a defendant, the government legitimately may rebut

the presumption.” Id.

       The United States has submitted an affidavit from Tommy Thompson, this district’s

Chief Deputy of the United States Marshals Service (“USMS”), which was responsible for

transporting Dehart from rural Maine to Tennessee. (Docket No. 24, Ex. 1.) The affidavit

recounts the route that USMS used to transfer Dehart from Maine to Tennessee: (1) first, from

Penobscot County Jail in Maine to Strafford County Jail in New Hampshire; (2) then, via bus to

Brooklyn, New York; (3) then, via airlift to Oklahoma City, Oklahoma;3 (4) then, via airlift to

Memphis, Tennessee; (5) then, via ground transport to Nashville. (Id. ¶ 2.)

       There were a number of delays. A Bureau of Prisons bus runs weekly on Thursdays and

Fridays between New Hampshire and Brooklyn. (Id. ¶ 3.) But, because the USMS received the

Removal Order on August 12, it was unable to transfer the defendant to New Hampshire in time

to catch the August 13 (Friday) bus. (Id.) Thus, Dehart was not transported to New Hampshire

until August 19, and he reached Brooklyn the next day, August 20. (Id.) Furthermore, USMS

airlifts have been cut back “due to a lack of funding.” (Id. ¶ 4.) Consequently, the defendant did


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         The affidavit states that “Oklahoma City is the centralized prisoner transportation hub
for geographic reasons and has served as the base location for the DOJ’s prisoner transportation
center since 1979.” (Docket No. 24, Ex. 1 ¶ 2.)

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not arrive in Oklahoma City until August 30, and he was airlifted to Memphis a week later, on

September 7. (Id. ¶¶ 4-5.) He arrived in Nashville the next day.

       The United States argues that transportation took longer than ten days in this case “due to

the limited funds available for cross country transportation of inmates, which limited the number

of available airlifts.” (Docket No. 24 at 5.) On each leg of Dehart’s transport, he was placed on

the next available bus or airlift; the delays resulted from the fact that prisoner transportation is

bound by certain economic constraints. In particular, the USMS reduced the frequency of airlifts

in August and September to address budgetary problems. (Docket No. 24, Ex. 1 ¶ 4.)

       The Speedy Trial Act is silent regarding the showing that the government must make to

rebut the statute’s presumption of unreasonableness on trips exceeding ten days, and there

appears to be little on-point Sixth Circuit case law. The most relevant statement comes from

Turner, which noted that the presumption may be rebutted with evidence that “legitimate

problems” arose in the prisoner’s transport. 602 F.3d at 783, 785 (finding that presumption was

not rebutted by a “vague[]” explanation of the “‘difficulty suffered by . . . the [USMS] in

effectuating a timely . . . transportation to and from the facility’”); see also United States v.

Tinklenberg, 579 F.3d 589, 596 (6th Cir. 2009) (noting that a delay over ten days “is

presumptively unreasonable, and in the absence of rebutting evidence to explain the additional

delay, this extra time is not excludable”); United States v. Perez, 306 Fed. Appx. 929, 931 (6th

Cir. 2009) (mentioning the district court’s determination that “the government had not explained

why it was reasonable to take more than ten days to transport [the prisoner] and thus had not

rebutted the ten day statutory presumption”).



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       Here, the court concludes that the USMS’s budgetary woes, and the resulting infrequent

airlifts, are a “legitimate problem” and that the actions taken in response to the problem were

reasonable and in good faith. Although 28 days is a lengthy journey, Bangor, Maine is over

1,300 miles by road from Nashville. On each leg of the defendant’s journey, he was placed on

the earliest available bus or airlift. The only viable way to shorten the defendant’s transport

would have been (a) to place him on a more direct route to Nashville or (b) to run more buses

and fly more airlifts. In its attempt to balance swift travel with economic realities, the USMS

acted reasonably in doing neither.

       This decision contrasts with the decisions of courts in other circuits. In United States v.

Jervey, 630 F. Supp. 695 (S.D.N.Y. 1986), the court held, without explaining why, that the

Speedy Trial Act’s presumption of unreasonableness “applies . . . unless some extraordinary

event occurred in the case to make compliance with the directions of Congress unfeasible.” Id.

at 697. The court then rejected the government’s argument that a cross-country transport of 20

days was reasonable because of budgetary constraints, stating that “[t]he Government’s good

faith, without more, cannot [rebut the presumption].” Id. at 698. Similarly, in United States v.

Castle, 906 F.2d 134 (5th Cir. 1990), the Fifth Circuit found that “the presumption of

unreasonableness [cannot] be rebutted by a showing of diligent effort,” and it adopted the

“extraordinary event” standard from Jervey. Id. at 137-38. The court rejected the government’s

argument that budgetary constraints imposed by a particular act of Congress sufficiently




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explained the prisoner’s 22-day transport from Louisiana to Missouri.4 Id. at 138.

       Neither of these cases, of course, is binding on this court. The “extraordinary event”

standard adopted by Jervey and Castle contradicts the lower “legitimate problem” standard

suggested by the Sixth Circuit in Turner. Accordingly, this court declines to follow those cases

and finds that the defendant’s entire 28-day transport should be excluded from the Speedy Trial

calculations.

       B.       Time During Which the Defendant’s Motion was Pending

       The court must also determine whether it should exclude the ten days between the

defendant’s filing of his Motion to Revoke and the Magistrate Judge’s decision on the motion.

Section 3161(h) provides that the court should exclude from the 30-day calculation “delay

resulting from any pretrial motion, from the filing of the motion through the conclusion of the

hearing on, or other prompt disposition of, such motion.” 18 U.S.C. § 3161(h)(1)(D). The

defendant argues that the Sixth Circuit’s decision in Tinklenberg prevents this time from being

excluded (Docket No. 15 at 2 n.2), while the United States argues that Tinklenberg is

distinguishable from this case.

       In Tinklenberg, the district court had, one or two months in advance, scheduled the


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          The Fifth Circuit pointed to a section of the House Report on the Speedy Trial Act, also
quoted by the Ninth Circuit in United States v. Taylor, 821 F.2d 1377 (9th Cir. 1987), rev’d on
other grounds, 487 U.S. 326 (1988), that states: “The Committee cannot conclude that
inconvenience to the United States marshals or the minimal expense of transporting prisoners is
an excuse for delaying the arraignment of a defendant.” H. Rep. No. 1508, 93d Cong., 2d Sess.
(1974), reprinted in 1974 U.S.C.C.A.N. 7401, 7423-24. But this part of the report speaks to §
3161(c), which in 1974 provided a ten-day time limit between the filing of an indictment and the
defendant’s arraignment. It did not speak to the 30-day limit between the defendant’s arrest and
the filing of the indictment.

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defendant’s trial for August 14, 2006. 579 F.3d at 592. After August 1, the parties filed three

pretrial motions: the government filed two evidentiary motions, which sought leave to take a

video deposition of a witness and to introduce two guns as evidence at trial, and the defendant

filed a motion to dismiss. Id. at 597. All of the motions were resolved without hearing before

trial. Neither party requested an extension of the trial date, and the trial began as scheduled. Id.

The Speedy Trial Act provides that trial must begin within 70 days of the filing of the

indictment, 18 U.S.C. § 3161(c)(1), and the Sixth Circuit held that the time during which these

motions were pending should not be excluded from the 70-day calculation. Tinklenberg, 579

F.3d at 599.

        The court reasoned that § 3161(h)(1)(D), by its terms, only excludes “‘delay resulting

from any pretrial motion.’” Id. at 598 (quoting 18 U.S.C. § 3161(h)(1)(D)). Thus, the court held

that “a pretrial motion must actually cause a delay, or the expectation of a delay, of trial in order

to create excludable time.” Id. This conclusion conflicted with the decision of every other

federal appellate court to address the issue, each of which “held that the filing of any pretrial

motion stops the Speedy Trial clock, regardless of whether the motion has any impact on the

trial’s start date.”5 Id. (collecting cases from nine other circuits); see also United States v. Hills,

No. 09-2151, 2010 U.S. App. LEXIS 17186, at *10 (7th Cir. Aug. 18, 2010) (rejecting

Tinklenberg and noting the consensus of other circuits).

        Because none of the motions in Tinklenberg “caused any delay of the trial, or even


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        The Supreme Court has granted certiorari to review this aspect of Tinklenberg,
presumably because of the circuit split on this issue. United States v. Tinklenberg, No. 09-1498,
2010 U.S. LEXIS 5759 (U.S. Sept. 28, 2010).

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threatened to delay the trial,” the Sixth Circuit did not exclude the time from the 70-day

calculation. 579 F.3d at 599. The court noted the “obvious understanding of the parties and the

court that the motions filed just before trial would not affect the trial schedule. Id. at 600. The

court further stated that allowing the government to extend the Speedy Trial clock by filing

“mundane pretrial motions” would frustrate the purpose of the Speedy Trial Act. Id. at 599.

       The facts of the present case are entirely distinguishable from those in Tinklenberg. Most

obviously, this case involves the 30-day limit from arrest to indictment, not the 70-day limit from

indictment to trial. Here, unlike in Tinklenberg, there was no set trial date (or, for that matter, set

indictment date). It is therefore impossible for the court to say with certainty that the

defendant’s motion did not cause any delay. Indeed, any non-frivolous post-arrest motion has

the potential to delay an indictment, because “[p]retrial motions necessarily take the time of

prosecutors to respond and courts to evaluate.” United States v. Wilson, 835 F.2d 1440, 1442

(D.C. Cir. 1987), overruled on other grounds by Bloate v. United States, 130 S. Ct. 1345 (2010).

It is possible that, in responding to the defendant’s motion, the United States was forced to divert

resources that otherwise would have gone toward securing a quicker indictment. Unlike in

Tinklenberg, there was no “obvious understanding” between the parties that the defendant’s

motion would not delay proceedings. Furthermore, Tinklenberg’s concern that the government

might intentionally cause delay by filing a flurry of inconsequential motions is not implicated

here, because the Motion to Revoke was filed by the defendant.

       Because of these differences, Tinklenberg does not mandate that the time at issue here be

included in the court’s 30-day calculation. Accordingly, the court finds that the ten days



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between the defendant’s filing of his Motion to Revoke and the Magistrate Judge’s resolution of

the motion should be excluded under § 3161(h)(1)(D).

       When the 28 days excludable under § 3161(h)(1)(F) and the 10 days excludable under §

3161(h)(1)(D) are subtracted from the 62 days between the defendant’s arrest and indictment, it

leaves only 24 days that count against the Speedy Trial clock. Because this is within the 30-day

pre-indictment limit, the United States did not violate the Speedy Trial Act.6

                                         CONCLUSION

       For all of the reasons discussed above, the Motion to Dismiss filed by defendant Matthew

Dehart (Docket No. 15) is DENIED.

       It is so Ordered.

       Entered this 27th day of October 2010.


                                                     _____________________________
                                                     ALETA A. TRAUGER
                                                     United States District Judge




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          Even if the government had violated the 30-day limit, the court would dismiss the
indictment without prejudice. The Speedy Trial Act provides that, in deciding whether to
dismiss with prejudice, the court should consider three factors: “the seriousness of the offense;
the facts and circumstances of the case which led to the dismissal; and the impact of a
reprosecution on . . . the administration of justice.” 18 U.S.C. § 3162(a)(2). Here, each factor
weighs in favor of a dismissal without prejudice: production of child pornography is a serious
offense; any delay was not intentional and, instead, resulted from an oversight by the Assistant
United States Attorney (see Docket No. 24 at 7); and the defendant’s ability to prepare his case
has not been prejudiced.

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